                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA



UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:13-cr-39
                                                     )
v.                                                   )
                                                     )       MATTICE / LEE
CELESTA McCURRY                                      )



                              REPORT AND RECOMMENDATION


       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on August 14, 2013.

At the hearing, defendant moved to withdraw her not guilty plea to Count One of the seven-count

Indictment and entered a plea of guilty to Count One of the Indictment, in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

in the plea agreement; the defendant understands the nature of the charge and penalties provided by

law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw her not guilty plea to Count

One of the Indictment be granted, her plea of guilty to Count One of the Indictment be accepted, the

Court adjudicate defendant guilty of the charges set forth in Count One of the Indictment, and a

decision on whether to accept the plea agreement be deferred until sentencing.            I further




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RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance of the

plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.


                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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